Case: 5:21-cv-00023-DCR-HAI Doc #: 1-1 Filed: 01/21/21 Page: 1 of 16 - Page ID#: 8

                                                                                                      Service of Process
                                                                                                      Transmittal
                                                                                                      12/22/2020
                                                                                                      CT Log Number 538779602
   TO:         John Verscaj, Private Litigation Counsel
               Kraft Heinz Foods Company
               218 Exmoor Ave.
               Glen Ellyn, IL 60137

   RE:         Process Served in Kentucky

   FOR:        Mondelez Global LLC (Domestic State: DE)




   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

   TITLE OF ACTION:                                 JAMES CLAY WAGERS, Pltf. vs. Mondelez Global LLC, etc., Dft.
   DOCUMENT(S) SERVED:                              -
   COURT/AGENCY:                                    None Specified
                                                    Case # 20CI03753
   NATURE OF ACTION:                                Employee Litigation - Wrongful Termination
   ON WHOM PROCESS WAS SERVED:                      C T Corporation System, Frankfort, KY
   DATE AND HOUR OF SERVICE:                        By Certified Mail on 12/22/2020 postmarked on 12/17/2020
   JURISDICTION SERVED :                            Kentucky
   APPEARANCE OR ANSWER DUE:                        None Specified
   ATTORNEY(S) / SENDER(S):                         None Specified
   ACTION ITEMS:                                    CT has retained the current log, Retain Date: 12/22/2020, Expected Purge Date:
                                                    12/27/2020

                                                    Image SOP

                                                    Email Notification, Ellen Smith ellen.smith@mdlz.com

                                                    Email Notification, Kevin Brennan Kevin.Brennan@mdlz.com

                                                    Email Notification, Melissa Harrup melissa.harrup@mdlz.com

                                                    Email Notification, John Verscaj john.verscaj@verscajlaw.com

   REGISTERED AGENT ADDRESS:                        C T Corporation System
                                                    306 W. Main Street
                                                    Suite 512
                                                    Frankfort, KY 40601
                                                    866-331-2303
                                                    CentralTeam1@wolterskluwer.com
   The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
   relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
   of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other




                                                                                                      Page 1 of 2 / MV
Case: 5:21-cv-00023-DCR-HAI Doc #: 1-1 Filed: 01/21/21 Page: 2 of 16 - Page ID#: 9

                                                                                                       Service of Process
                                                                                                       Transmittal
                                                                                                       12/22/2020
                                                                                                       CT Log Number 538779602
   TO:         John Verscaj, Private Litigation Counsel
               Kraft Heinz Foods Company
               218 Exmoor Ave.
               Glen Ellyn, IL 60137

   RE:         Process Served in Kentucky

   FOR:        Mondelez Global LLC (Domestic State: DE)




   advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
   therein.




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           Case: 5:21-cv-00023-DCR-HAI Doc #: 1-1 Filed: 01/21/21 Page: 3 of 16 - Page ID#:



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  Vincent Riggs, Fayette Circuit Clerk
  120 N. Limestone, Room C-103
  Lexington, KY 40507-1152
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                                         CT CORPORATION
                                         306W. MAIN STREET,SUITE 512
                                         FRANKFORT, KY 40601




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      Case: 5:21-cv-00023-DCR-HAI Doc #: 1-1 Filed: 01/21/21 Page: 4 of 16 - Page ID#: 11

 AOC-E-105               Sum Code: Cl
 Rev. 9-14                                                                              Case #: 20-CI-03753

 Commonwealth of Kentucky                                                               Court:  CIRCUIT
 Court of Justice Courts.ky.gov                                                         County: FAYETTE
 CR 4.02; Cr Official Form 1                          CIVIL SUMMONS


Plantiff, WAGERS,JAMES CLAY VS. MONDELEZ GLOBAL, LLC D/B/A MONDELEZ I, Defendant




                                                                                                                                   Package:000002 of 000009
    TO: CT CORPORATION
        306W. MAIN STREET, SUITE 512
        FRANKFORT, KY 40601
Memo: Related party is MONDELEZ GLOBAL, LLC D/B/A MONDELEZ INTERNATIONAL, INC.

The Commonwealth of Kentucky to Defendant:
MONDELEZ GLOBAL, LLC D/B/A MONDELEZ INTER

   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the




                                                                                                                                   Presiding Judge: HON. KIMBERLY BUNNELL (622203)
document delivered to you with this Summons.



                                                            kitAn
                                                            Fayette Circuit Clerk
                                                            Date: 12/16/2020




                                                      Proof of Service
    This Summons was:

0 Served by delivering a true copy and the Complaint (or other initiating document)

       To:

0 Not Served because:
                                                                                                                                          Package: 000002 of 000009




    Date:                                    , 20
                                                                                             Served By


                                                                                                 Title

Summons ID: 302276320820759@00000943710
CIRCUIT: 20-CI-03753 Certified Mail
WAGERS JAMES CLAY VS. MONDELEZ GLOBAL, LLC D/B/A MONDELEZ I


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Case: 5:21-cv-00023-DCR-HAI Doc #: 1-1 Filed: 01/21/21 Page: 5 of 16 - Page ID#: 12
  Filed        20-CI-03753    1.2/16/202.0       Vincent Riggs,Fayette Circuit Clerk




                                COMMONWEALTH OF KENTUCKY
                                   FAYETTE CIRCUIT COURT
                                          DIVISION
                                 CIVIL ACTION NO. 20-CI-
                                       (Electronically Filed)




                                                                                                     Package:000003 of 000009
    JAMES CLAY WAGERS                                                                    PLAINTIFF

     V.

    MONDELEZ GLOBAL, LLC;
    D/B/A MONDELEZ INTERNATIONAL, INC.                                               DEFENDANT

    SERVE:          CT CORPORATION SYSTEM
                    306 W. MAIN STREET, SUITE 512
                    FRANKFORT, KY 40601


                                             COMPLAINT




                                                                                                     Presiding Judge: HON. KIMBERLY BUNNELL (622203)
              Comes the Plaintiff, James Clay Wagers("Wagers"), by and through counsel, and

    for his Complaint against Mondelez Global, LLC, d/b/a Mondelez International, Inc.

   ("Mondelez"), states as follows:

                                              PARTIES

              1.    Wagers is an individual who is, and has at all relevant times been, a citizen

    of the Commonwealth of Kentucky.

              2.    Mondelez is a foreign Limited Liability Company of Illinois with a principal

    administrative office located at 905 West Fulton Market, Suite 200, Chicago, IL 60607,

     with a registered agent for service of process located at CT Corporation System, 306 W.

     Main Street, Suite 512, Frankfort, KY 40601.
                                                                                                      Package: 000003 of 000009




              3.    Mondelez is an Active For-Profit entity in Good Standing in the

     Commonwealth of Kentucky.




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  Filed        20-C1-03753    12116/2010      . Vint ent Riggs, Fayette. Circuit Clerk
Case: 5:21-cv-00023-DCR-HAI Doc #: 1-1 Filed: 01/21/21 Page: 6 of 16 - Page ID#: 13
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             4.        Mondelez is engaged in the business of selling foods to grocers in the

     Commonwealth of Kentucky and maintains offices in the Commonwealth..

                                     JURISDICTION AND VENUE




                                                                                                     Package:000004 of 000009
             5.        This Court has jurisdiction over this matter, and venue is appropriate

     because the act complained of herein occurred in Kentucky and the damages are in

    excess of the jurisdictional limits of this Court.

                                                FACTS

             6.       This is a civil action for damages brought by Wagers, a former employee of

     Mondelez, who was terminated from his employment with Mondelez based on his age.

             7.        Wagers began employment with Mondelez's predecessor, and reached his

    30 year work anniversary on March 5, 2020.




                                                                                                   Presiding Judge: HON. KIMBERLY BUNNELL (622203)
             8.        Mondelez wrongfully terminated Wagers' employment on April 10, 2020.

             9.        Wagers is and has been an employee within the meaning of KRS 344.030

    at all times complained of herein.

             10.       Mondelez is and has been an employer within the meaning of KRS

    344.030(2) at all times complained of herein.

             11.       Wagers had an excellent record with high sales performances, and award-

    winning sales performances in 2012 and 2018.

             12.       Wagers was the leader of his sales team.

             13.       Despite his ample experience, knowledge, and high performance, Mr.

     Wagers was subjected to antagonizing comments from Mondelez agents or officers about
                                                                                                       Package: 000004 of 000009




     his age.



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    4829-8436-2963, V. 1



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             14.       Around March 2016, Mondelez senior leader Tom Davis, referred to Mr.

     Wagers as the "old timer" in a group setting for the purpose of embarrassing and

     demeaning Mr. Wagers.




                                                                                                    Package:000005 of 000009
             15.      Around June 2017,Tom Davis again referred to Mr. Wagers as the "old guy"

     in a group setting and singled him out to read small-type print, which was difficult and

    embarrassing for Mr. Wagers to attempt with his maturing eye sight.

             16.       In May 2019, Mondelez treated Wagers'sales team to a work retreat.

             17.      At the above-referenced retreat, Gary Seagraves, a Mondelez VP,

     intentionally excluded Wagers from a team dinner and limousine ride to embarrass him.

    At the dinner, upon information and belief, Gary Seagraves made comments to the sales

    team disparaging Wagers and expressing intent to force Wagers out due to his age.

             18.       In the past, Wagers has been instructed by Mondelez's senior leadership to

     put unattainably high sales goals on sales representatives under his command, so that

     Mondelez could terminate the sales representatives' employment with the pretext of

    "failing to meet sales objectives."

             19.       Upon information and belief, Mondelez arbitrarily inflated certain

    employee's sales objectives,for the purpose of terminating their employment. Employees

    terminated in this way were usually older individuals.

             20.       Wagers was similarly given unattainable goals so that Mondelez could

     manufacture a reason to terminate him.

             21.       In the time leading up to his wrongful termination, Mr. Wagers was seeking
                                                                                                      Package :000005 of 000009




     worker's compensation to which he was legally entitled for an injury.



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             22.       In the April 10, 2020, termination letter, Mondelez references Wagers'

    failure to "follow up consistently", and failure to "deliver proper communication", among

     other vague allegations.




                                                                                                    Package:000006 of 000009
             23.       When Mondelez terminated Wagers' employment, he was 57 years of age.

             24.       Mondelez replaced Wagers with an individual who is substantially younger

     than Wagers.

             25.      Since his wrongful termination, Wagers has sought employment through

     many job applications in the industry and similar fields of business that Mondelez

    operates in, to no avail.

             26.       Upon information and belief, Mondelez agents, officers, and/or employees,

     have "blackballed" Wagers from the industry, intentionally inhibiting his ability to gain




                                                                                                   Presiding Judge: HON. KIMBERLY BUNNELL (622203)
    employment, by suggesting to potential employers that they should not hire Wagers.

                                            COUNT ONE
                                 Age Discrimination in Violation of the
                                      Kentucky Civil Rights Act

             27.       Wagers incorporates each of the preceding paragraphs as if fully set out

     herein.

             28.       Wagers, because of his age, was a member of a protected class.

             29.       Mondelez discharged Wagers.

             30.       Wagers was qualified for the position from which Mondelez discharged him.

             31.       Mondelez replaced Wagers with a substantially younger person.

             32.       Mondelez's actions, through its agents and/or employees, constitute
                                                                                                      Package :000006 of 000009




     violations of the Kentucky Civil Rights Act, KRS 344.010, et seq.



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                                              COUNT TWO
                                      Retaliation in Violation of the
                                       Kentucky Civil Rights Act

             33.       Wagers incorporates each of the preceding paragraphs as if fully set out

     herein.

             34.       Wagers engaged in activity protected by the Kentucky Civil Rights Act.

             35.       Mondelez was aware of Wagers' protected activity.

             36.       Mondelez took adverse action against Wagers.

             37.      There was a causal connection between Wagers' protected activity and

     Mondelez's adverse employment action.

             38.       Mondelez's actions, through its agents and/or employees, constitute

     unlawful retaliation in violation of the Kentucky Civil Rights Act, KRS 344.010, et seq.




                                                                                                         Presiding Judge: HON. KIMBERLY BUNNELL (622203)
                                          COUNT THREE
                                   Discrimination in Violation of
                              Kentucky's Workers'Compensation Laws

             39.       Wagers incorporates each of the preceding paragraphs as if fully set out

     herein.

             40.       Wagers engaged         in   activity   protected    by    Kentucky's   Workers'

     Compensation laws.

             41.       Mondelez discriminated against Wagers in violation of Kentucky's Workers'

     Compensation laws.

             42.      There was a causal connection between Wagers' protected activity and

     Mondelez's adverse employment action.
                                                                                                            Package :000007 of 000009




             43.       Mondelez's actions, through its agents and/or employees, constitute

     unlawful discrimination in violation of KRS 342.001, et seq, specifically, KRS 342.197(1).

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  Filed        20-CI-03753       12/16/2020           Vincent.Riggs, Fayette Circuit Clerk
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                                              COUNT FOUR
                               Intentional Infliction of Emotional Distress

             44.       Wagers incorporates each of the preceding paragraphs as if fully set out

     herein.




                                                                                                             Package:000008 of 000009
             45.       Mondelez, through the actions of its agents and/or employees acted

     intentionally or recklessly towards Wagers.

             46.       Mondelez's conduct was outrageous and intolerable in that it offends

    against the generally accepted standards of decency and morality.

             47.       Mondelez's conduct inflicted severe emotional distress upon Wagers.

     WHEREFORE, James Clay Wagers prays for relief as follows:

             A.        An order of back pay, front pay, damages for lost compensation and job




                                                                                                            Presiding Judge: HON. KIMBERLY BUNNELL (622203)
     benefits that Plaintiff would have received but for Mondelez's discriminatory practices

     herein described;

            • B.       Compensatory         damages     for     emotional      distress,     humiliation,

    embarrassment and anguish;

             C.        Reasonable attorney fees, costs and expenses herein incurred;

             D.        Pre- and post-judgment interest on any judgment amounts;

             E.        Trial by jury; and

             F.        Any and all other relief to which this Plaintiff may be entitled.

                                                                                                                 Package :000008 of 000009




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  Filed         20-CI-03753   12116/2020    Vincent Riggs, Fayette Circuit. Clerk




                                                  Respectfully submitted,

                                                  Leslie P. Vose (Bar No. 53843)
                                                  Austin J. Flaugh (Bar No. 98053)
                                                  LANDRUM & SHOUSE LLP
                                                  P.O. Box 951
                                                  Lexington, KY 40588-0951
                                                  Telephone:(859)255-2424
                                                  Ivose@landrumshouse.com
                                                  aflaugh@landrumshouse.com

                                           BY:   /s/ Leslie P. Vose
                                                 Counsel for James Clay Wagers




                                                                                       Presiding Judge: HON. KIMBERLY BUNNELL (622203)




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     4829-8436-2963, v. 1



   Filed        20-C1-03755   12/16/2020    Vinc ent Riggs, Fayette Circuit Clerk
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 AOC-E-105         Sum Code: CI
 Rev. 9-14                                                                              Case #: 20-CI-03753
                                                                                        Court:   CIRCUIT
 Commonwealth of Kentucky
 Court of Justice Courts.ky.gov                                                         County: FAYETTE
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, WAGERS, JAMES CLAY VS. MONDELEZ GLOBAL, LLC D/B/A MONDELEZ I, Defendant


   TO: CT CORPORATION
           306 W. MAIN STREET, SUITE 512
           FRANKFORT, KY 40601
Memo: Related party is MONDELEZ GLOBAL, LLC D/B/A MONDELEZ INTERNATIONAL, INC.

The Commonwealth of Kentucky to Defendant:
MONDELEZ GLOBAL, LLC D/B/A MONDELEZ INTER

   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the




                                                                                                                                   Presiding Judge: HON. KIMBERLY BUNNELL (622203)
document delivered to you with this Summons.




                                                         Fayette Circuit Clerk
                                                         Date: 12/16/2020




                                                 Proof of Service
   This Summons was:

o Served by delivering a true copy and the Complaint (or other initiating document)
     To:

o Not Served because:
                                                                                                                                   CI : 000001 of 000001




   Date:                          , 20
                                                                                             Served By


                                                                                                 Title

Summons ID: @00000943710
CIRCUIT: 20-CI-03753 Certified Mail
WAGERS, JAMES CLAY VS. MONDELEZ GLOBAL, LLC D/B/A MONDELEZ I

                                                      Page 1 of 1
        Case: 5:21-cv-00023-DCR-HAI Doc #: 1-1 Filed: 01/21/21 Page: 13 of 16 - Page ID#: 20
          Commonwealth of Kentucky
          Vincent Riggs, Fayette Circuit Clerk


 Case #: 20-CI-03753                    Envelope #: 3022763
 Received From: LESLIE VOSE                            Account Of: LESLIE VOSE

 Case Title: WAGERS, JAMES CLAY VS. MONDELEZ           Confirmation Number: 118085205
 GLOBAL, LLC D/B/A MONDELEZ I
 Filed On:12/16/2020 11:14:41AM


#      Item Description                                                                   Amount
1      Access To Justice Fee                                                               $20.00
2      Civil Filing Fee                                                                   $150.00
3      Money Collected For Others(Court Tech. Fee)                                         $20.00
4      Library Fee                                                                          $1.00
5      Court Facilities Fee                                                                $25.00
6      Money Collected For Others(Attorney Tax Fee)                                         $5.00
7      Charges For Services(Jury Demand / 12)                                              $70.00
8      Money Collected For Others(Postage)                                                 $12.50
9      Charges For Services(Copy - Photocopy)                                               $0.90
                                                                                 TOTAL:   $304.40




Generated: 12/17/2020                                                                      Page 1 of 1
           Case: 5:21-cv-00023-DCR-HAI Doc #: 1-1 Filed: 01/21/21 Page: 14 of 16 - Page ID#: 21




Commonwealth of Kentucky
                                                                                     FAYETTE COUNTY
Court of Justice www.courts.ky.gov

                                             RANDOM JUDGE ASSIGNMENT




                                         Court: FAYETTE CIRCUIT COURT - CIVIL CASES [FCCCC]



                                     Case Style: TBD



                                 Case Number: 20-CI-03753



         This case has been assigned to: HON. KIMBERLY BUNNELL [622203]




                                                                Vincent Riggs
                                                                       Vincent Riggs, Fayette Circuit Clerk
                                                                                    12/17/2020 8:13:13 AM
Case: 5:21-cv-00023-DCR-HAI Doc #: 1-1 Filed: 01/21/21 Page: 15 of 16 - Page ID#: 22




                            COMMONWEALTH OF KENTUCKY




                                                                                                    C24FB1E9-16D4-438E-A59D-27526E5AF9E8 : 000001 of 000002
                               FAYETTE CIRCUIT COURT
                              CIVIL ACTION NO. 20-CI-3753




   JAMES CLAY WAGERS,

                          Plaintiff,

          v.

   MONDELEZ GLOBAL, LLC,

                          Defendant.

  STIPULATION GRANTING EXTENSION OF TIME FOR DEFENDANT MONDELEZ
   GLOBAL, LLC TO MOVE, PLEAD OR OTHERWISE RESPOND TO PLAINTIFF’S
                             COMPLAINT

        The parties hereby stipulate that Defendant Mondelez Global, LLC shall have an additional

 20 days, up to and including January 25, 2021, to move, plead, or otherwise respond to Plaintiff

 James Clay Wagers’ Complaint in the above-captioned case.

                                                     Respectfully submitted,


  /s/ Austin J. Flaugh (with email permission)       /s/ Katharine C. Weber___________
  Leslie P. Vose (Bar No. 53843)                     Katharine C. Weber (Bar No. 83370)
  Austin J. Flaugh (Bar No. 98053)                   Morgan A. Davenport (Bar No. 97207)
  LANDRUM & SHOUSE LLP                               Jackson Lewis P.C.
  P.O. Box 951                                       201 E. Fifth Street, 26th Floor
  Lexington, KY 40588                                Cincinnati, OH 45202
  Telephone: (859)-255-2424                          Telephone: (513) 898-0050
  Email: lvose@landrumshouse.com                     Fax: (513) 898-0051
  aflaugh@landrumshouse.com                          E-mail: Katharine.weber@jacksonlewis.com
                                                     Morgan.Davenport@jacksonlewis.com
  Counsel for Plaintiff
                                                                                                    STP : 000001 of 000002



                                                     Counsel for Defendant Mondelez Global, LLC




                                                 1
Case: 5:21-cv-00023-DCR-HAI Doc #: 1-1 Filed: 01/21/21 Page: 16 of 16 - Page ID#: 23




                                                                                                   C24FB1E9-16D4-438E-A59D-27526E5AF9E8 : 000002 of 000002
                                  CERTIFICATE OF SERVICE

         I hereby certify that on January 8, 2021, a true and accurate copy of the foregoing was
 electronically filed with the Court’s electronic filing system. A true and accurate copy of the
 foregoing will be sent via electronic mail to the following:


          Leslie P. Vose (Bar No. 53843)
          Austin J. Flaugh (Bar No. 98053)
          LANDRUM & SHOUSE LLP
          P.O. Box 951
          Lexington, KY 40588
          Telephone: (859)-255-2424
          Email: lvose@landrumshouse.com
                  aflaugh@landrumshouse.com


          Counsel for Plaintiff


                                                    /s/ Katharine C. Weber
                                                    Katharine C. Weber


 4836-4345-7494, v. 1




                                                                                                   STP : 000002 of 000002




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